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                        6         Attorneys for Defendant
                                  Ocwen Mortgage Servicing, Inc.,
                        7         and Ocwen Loan Servicing, LLC
                        8                                UNITED STATES DISTRICT COURT
                        9                              CENTRAL DISTRICT OF CALIFORNIA
                     10
                     11           Mirella Covarrubias,                   Case No. 5:17-cv-00904-FMO-SP
                     12                            Plaintiff,            DEFENDANTS’ NOTICE OF
                                                                         MOTION AND MOTION TO DISMISS
                     13                  v.                              PLAINTIFF’S COMPLAINT
                     14           Ocwen Mortgage Servicing, Inc.,        [FED. R. CIV. P. 12(b)(6)]
                                  and Ocwen Loan Servicing, LLC,
                     15
                                                   Defendants.
                     16                                                  Judge:   Hon. Fernando M. Olguin
                                                                         Date:    August 3, 2017
                     17
                                                                         Time:    10:00AM
                     18                                                  Dept:    6D
                     19
                     20
                                  TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
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                                         PLEASE TAKE NOTICE THAT Defendants Ocwen Loan Servicing, LLC
                     22
                                  and Ocwen Mortgage Servicing, Inc. (collectively “Ocwen”) hereby moves the
                     23
                                  Court to dismiss Plaintiff’s Complaint, filed on May 10, 2017 (Docket No. 1), for
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                                  failure to state a claim.
                     25
                                         Ocwen moves this Court for an order dismissing Plaintiff’s claims pursuant
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                                  to Rule 12(b)(6) of the Federal Rules of Civil Procedure as to counts I–V for
                     27
                                  alleged violation of the Telephone Consumer Protection Act (TCPA), negligence,
                     28
T ROU TMA N S ANDE RS LLP                                                 DEFENDANTS’ NOTICE OF MOTION AND MOTION
11682 EL CAMINO REAL, SUITE 400
                                                                                  TO DISMISS PLAINTIFF’S COMPLAINT
     SAN DIEGO, CA 92130
                                                                                       CASE NO. 5:17-CV-00904-FMO-SP
                   Case 5:17-cv-00904-FMO-SP Document 16 Filed 06/30/17 Page 2 of 3 Page ID #:45



                        1         and negligence per se.
                        2               This motion is based on this Notice of Motion, the Memorandum of Points
                        3         and Authorities in support of the Motion, the pleadings and papers on file herein,
                        4         and such other matters as may be presented to the Court.
                        5               This motion is made following the conference of counsel pursuant to L.R. 7-
                        6         3, which took place on June 27, 2017.
                        7
                        8
                                  Dated: June 30, 2017                        TROUTMAN SANDERS LLP
                        9
                     10
                     11                                                       By: /s/ Chad R. Fuller
                                                                                Chad R. Fuller
                     12                                                         Justin M. Brandt
                     13                                                          Attorneys for Defendant
                                                                                 Ocwen Mortgage Servicing, Inc.,
                     14                                                          and Ocwen Loan Servicing, LLC
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T ROU TMA N S ANDE RS LLP                                                 DEFENDANTS’ NOTICE OF MOTION AND MOTION
11682 EL CAMINO REAL, SUITE 400
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     SAN DIEGO, CA 92130
                                                                                       CASE NO. 5:17-CV-00904-FMO-SP
                   Case 5:17-cv-00904-FMO-SP Document 16 Filed 06/30/17 Page 3 of 3 Page ID #:46



                        1                                 CERTIFICATE OF CM/ECF SERVICE
                        2                    The undersigned hereby certifies that a true and correct copy of the above
                        3         and foregoing document has been served on June 30, 2017, to all counsel of record
                        4         who are deemed to have consented to electronic service via the Court’s CM/ECF
                        5         system. Any counsel of record who have not consented to electronic service
                        6         through the Court’s CM/ECF system will be served by electronic mail, first class
                        7         mail, facsimile and/or overnight delivery.
                        8
                                                                               /s/ Chad R. Fuller
                        9                                                      Chad R. Fuller
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T ROU TMA N S ANDE RS LLP                                                     DEFENDANTS’ NOTICE OF MOTION AND MOTION
11682 EL CAMINO REAL, SUITE 400
                                                                                      TO DISMISS PLAINTIFF’S COMPLAINT
     SAN DIEGO, CA 92130
                                                                                           CASE NO. 5:17-CV-00904-FMO-SP
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